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20 LARGEST UNSECURED CREDITORS – XTL, INC. AND XTL - PA, INC.


1. INSURANCE OFFICE OF AMERICA
P.O. BOX 162207
ALTAMONTE SPRINGS, FL 32716-2207
$168,741.00


2. ACCU STAFFING SERVICES
P.O. BOX 8326
CHERRY HILL, NJ 08002-0326
$164,352.32


3. KAPLIN STEWART MELOFF REITER & STEIN
P.O. BOX 3037
BLUE BELL, PA 19422-3037
$150,267.48


4. NATIONAL INTERSTATE INSURANCE CO.
P.O. BOX 547
RICHFIELD, OH 44286-0547
$117,367.46


5. SERVICE TIRE TRUCK CENTER, INC
2255 AVENUE A
BETHLEHEM, PA 18017-8933
$116,204.55


6. INDEPENDENCE BLUE CROSS
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PO BOX 8500
LOCKBOX 3092
PHILADELPHIA, PA 19178-3092
$73,535.05


7. TEAMSTERS HEALTH & WELFARE FUND
KEVON OFFICE CENTER
2500 MCCLELLAN AVENUE, SUITE 140
PENNSAUKEN, NJ 08109
$69,659.41


8. NATIONAL WORKFORCE OPPORTUNITY
100 SOUTH JNIPER ST
3RD FLOOR
PHILADELPHIA, PA 19107
$48,496.99


9. MILLER TRUCK LEASING
1824 ROUTE 38
LUMBERTON, NJ 08048
$45,638.25


10. PENN JERSEY DIESEL & TRAILER
2950 STATE ROAD
BENSALEM, PA 19020
$45,488.17
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11. MHS LIFT, INC.
6965 AIRPORT HIGHWAY LANE
PENNSAUKEN, NJ 08109
$43,898.48


12. ASSETS PROTECTION, INC.
140 E RICHARDSON AVE STE 2
LANGHORNE, PA 19047-2857
$43,360.00


13. RSM US LLP
5155 PAYSPHERE CIRCLE
CHICAGO, IL 60674
$38,000.00


14. SALERNO TIRE CORP
P.O. BOX 1232
SHARON HILL, 19079
$37,822.36


15. RANDSTAD
P.O. BOX 7247-6655
PHILADELPHIA, PA 19170-6655
$37,621.37
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16. TEAMSTERS PENSION FUND
KEVON OFFICE CENTER
2500 MCCLELLAN AVENUE, SUITE 140
PENNSAUKEN, NJ 08109
$37,464.35


17. BERGEY'S
1003 RIDGE PIKE
CONSHOHOCKEN, PA 19428
$28,657.89


18. TEAMSTERS LOCAL 830
EMPLOYEE BENEFIT FUNDS
P.O. BOX 6040
PHILADELPHIA, PA 19114
$27,771.16


19. ONSITE PERSONNEL
P O BOX 634
MONTGOMERYVILLE, PA 18936
$28,880.70


20. STAR LEASING CO.
P.O. BOX 76100
CLEVLAND, OH 44101-4755
$22,090.96
